     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 1 of 28



              IN THE UNITED STATES DISTRICT COURTE C E V E D
              FOR THE MIDDLE DISTRICT OF ALABAMA
                                                 tiAY 21-1 A 8: 03
                       NORTHERN DIVISION
                                                          DERRA P. HACKETT, CL.K
                                                           US. ISTRICT COURT
                                                                  DiSTRICT ALA
YASHICA ROBINSON, M.D.,
ALABAMA WOMEN'S CENTER,
PLANNED PARENTHOOD
SOUTHEAST INC.,
REPRODUCTIVE HEALTH
SERVICES,and WEST ALABAMA
WOMEN'S CENTER,on behalf of
themselves, their patients, physicians,
clinic administrators, and staff,

                   Plaintiffs,

v.

STEVEN MARSHALL,in his official
capacity as Alabama Attorney General,
ROBERT L. BROUSSARD in his
official capacity as District Attorney for
Madison County,DANNY CARR in
his official capacity as District Attorney
for Jefferson County, ASHLEY RICH
in her official capacity as District
Attorney for Mobile County, DARYL            CIVIL ACTION NO       -cv -affilki-fo
D. BAILEY,in his official capacity as
District Attorney for Montgomery
County, HAYS WEBB,in his official
capacity as District Attorney for
Tuscaloosa County, SCOTT HARRIS,
M.D.,in his official capacity as the
State Health Office at the Alabama
State Department of Public Health,
MARK H. LEQUIRE, M.D.,in his
official capacity as Chairrnan of the
Alabama Board of Medical Examiners,
and JAMES H.WALBURN,M.D.,in
                                           1
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 2 of 28




 his official capacity as Chairman of the
 Medical Licensure Commission of
 Alabama,

                     Defendants.

                     VERIFIED COMPLAINT FOR
                DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs, by and through their attorneys, bring this Complaint against the

above-named Defendants, their employees, agents, and successors in office, and in

support thereof state the following:

                                 INTRODUCTION

       1.    This is a constitutional challenge, under 42 U.S.C. § 1983, to House

Bill 314(hereinafter "H.B. 314" or "the Barn,attached hereto as Exhibit A, which

bans nearly all abortions in Alabama.

      2.     People seek abortions for a multitude of diverse, complex, and

interrelated factors that are intimately linked to their values and beliefs, culture and

religion, health status and reproductive history, familial situation, educational

and/or career goals, and resources and economic stability.

      3.     For over forty-six years—since the Supreme Court decided Roe v.

Wade,410 U.S. 113(1973)—U.S.law has recognized the fundamental federal

constitutional right to make the profoundly important and personal decision

whether or not to terminate a pregnancy. The U.S. Supreme Court has repeatedly

recognized that this right is central to obtaining equality and respecting the dignity,
                                            2
      Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 3 of 28




 autonomy, and bodily integrity of all individuals.

        4.     By criminalizing the performance of an abortion (or attempted

 performance of an abortion) at all points in pregnancy, H.B. 314 directly conflicts

 with Roe and more than four decades of Supreme Court precedent affirming its

 central holding.

        5.     Indeed, H.B. 314 was drafted by Eric Johnston of the Alabama Pro-

 Life Coalition, who said that he fully "expect[s]... holdings of unconstitutionality

 in the trial court and in the appellate court."' The Ban's sponsor in the Alabama

 House of Representatives, Republican State Representative Terri Collins, has

 likewise admitted that H.B. 314 is '`unconstitutional" and that "all our pro-life bills

 are unconstitutional right now."2

        6.     Even Govemor Kay Ivey acknowledged, upon signing H.B. 314 into

law,that Alabama's pre-1973 criminal abortion ban "has been rendered

 unenforceable as a result of the U.S. Supreme Court decision in Roe v. Wade and




  1 All Things Considered: Author ofAlabama Restrictive Abortion Bill Wants to Revisit Roe v.
, Wade Decision (National Public Radio broadcast May 16, 2019)(transcript available at
  https://www.npr.org/2019/05/16/724089804/author-of-alabama-restrictive-abortion-bill-wants-
  to-revisit-roe-v-wade-decision).

2 Jenny Jarvie, Conservative states enact abortion
                                               bans in hope ofoverturning Roe vs. Wade,
LOS ANGELE,S TIMES, May 11, 2019, https://www.latimes.comination/la-na-abortion-bans-states-
roe-wade-supreme-court-20190511-story.html.

                                                3
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 4 of 28




that H.B. 314"may similarly be unenforceable."'

       7.     Absent an order from this Court, H.B. 314 is scheduled to take effect

on November 15, 2019, at which point Plaintiffs will be forced to stop providing

and/or referring for abortions. Enforcement of the Ban will thereby inflict

immediate and irreparable harm on Plaintiffs' patients by violating their

constitutional rights, threatening their health and well-being, and forcing them to

continue their pregnancies to term against their will.

       8.     Accordingly,Plaintiffs request this Court declare H.B. 314

unconstitutional under more than four decades of binding Supreme Court

precedent and enjoin its enforcement.

                            JURISDICTION AND VENUE

       9.     This Court has subject matter jurisdiction over Plaintiffs' federal

claims pursuant to 28 U.S.C. §§ 1331 and 1343.

       10.    Plaintiffs' action for declaratory and injunctive relief is authorized by

28 U.S.C. §§ 2201 and 2202, Rules 57 and 65 of the Federal Rules of Civil

Procedure, and the general legal and equitable powers of this Court.

       11.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because a




3 Governor Ivey Issues Statement After Signing the Alabama Human Life Protection Act, Office
of the Governor, May 15, 2019, https://governor.alabama.gov/statements/governor-ivey-issues-
statement-after-signing-the-alabama-human-life-protection-act/.

                                                 4
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 5 of 28




substantial part of the events or omissions giving rise to Plaintiffs' claims occur in

this judicial district and because Defendants Marshall, Bailey, Harris, Lequire, and

Walburn, who are sued in their official capacities, carry out their official duties at

offices located in this district.

                                    PLAINTIFFS

       12.    Plaintiff Yashica Robinson, M.D.,is a highly experienced, board-

certified OB-GYN and abortion provider, and is the Medical Director of the

Alabama Women's Center("AWC")in Huntsville, Alabama. Dr. Robinson

provides abortions, which would be banned by H.B. 314, at AWC.Dr. Robinson

sues on her own behalf and on behalf of her patients.

       13.    Plaintiff AWC has provided safe and legal abortions in Huntsville,

Alabama,for nearly twenty years. In addition to providing abortions, which would

be banned by H.B. 314, AWC also provides a range of high-quality reproductive

health services, including contraceptive counseling and care, testing and treatment

for sexually transmitted infections, pregnancy testing and options counseling, and

referrals for prenatal care and adoption services. Plaintiff AWC is the sole abortion

clinic in Huntsville. AWC sues on its own behalf and on behalf of its patients,

clinic administrator, physicians, and staff.

       14.   Plaintiff Planned Parenthood Southeast, Inc.("PPSE")is a not-for

profit corporation, organized under the laws of Georgia. PPSE, which operates

                                           5
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 6 of 28




seven health centers in Alabama, Georgia, and Mississippi, provides

comprehensive reproductive health care, including family planning services,

testing and treatment for sexually transmitted infections, cancer screening and

treatment, pregnancy testing and all options counseling, and, at four health centers

in Georgia, medication abortion. Through a corporate predecessor, PPSE has

provided care in Alabama since 1930. PPSE operates two health centers in

Alabama,in Birmingham and Mobile. It is currently building a new facility in

Birmingham where it will relocate, and renovating its Mobile health center. PPSE

has provided abortions in Alabama in the past, and intends to provide abortions

again in the near future, before the end of the year. In the meantime,PPSE refers

its Alabama patients seeking abortions to other providers, including the other

Plaintiffs. PPSE sues on its own behalf and on behalf of its patients, clinic

administrators, physicians, and staff.

      15.    Plaintiff Reproductive Health Services("RHS") has provided safe and

legal abortion services in Montgornery, Alabama,for nearly four decades. In

addition to providing abortions, which would be banned by H.B. 314,RHS

provides a range of high-quality reproductive health care services, including

routine pap smears and well-woman exams; testing for sexually transmitted

infections; contraceptive counseling and care, including Depo Provera shots;

pregnancy testing and all options counseling; and referrals for pre-natal care and/or

                                          6
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 7 of 28



adoption services. RHS is the only abortion clinic in Montgomery. RHS sues on its

own behalf and on behalf of its patients, clinic administrator, physicians, and staff.

       16.   Plaintiffs West Alabama Women's Center("WAWC")has provided

safe and legal abortions in Tuscaloosa, Alabama,for more than two decades. In

addition to providing abortions, which would be banned by H.B. 314, WAWC also

provides a range of high-quality reproductive health services, including

contraceptive counseling and care, testing and treatment for sexually transmitted

infections, pregnancy testing and options counseling, and referrals for prenatal care

and adoption services. WAWC is the sole abortion facility in Tuscaloosa. WAWC

sues on its own behalf and on behalf of its patients, clinic administrator,

physicians, and staff.

                                  DEFENDANTS

       17.   Defendant Steve Marshall is the Attorney General of the State of

Alabama,located at 501 Washington Avenue, Montgomery, Alabama. The

Attorney General may, at "any time he [] deems proper, ... superintend and direct

the prosecution a any criminal case in any of the courts of this state," Ala. Code §

36-15-14, and may also "direct any district attorney to aid and assist in the

investigation or prosecution of any case in which the state is interested," id. at §

36-15-15. As such, Defendant Marshall is responsible for criminal enforcement of

H.B. 314 and Ala. Code § 26-23E-12(c). Defendant Marshall is sued in his official

                                           7
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 8 of 28




capacity.

      18.    Defendant Robert L. Broussard is District Attorney for Madison

County, located at 100 North Side Square, Huntsville, Alabama. District attorneys

have the power to "draw up all indictments and to prosecute all indictable

offenses" within their jurisdiction. Ala. Code § 12-17-184(2). As such, Defendant

Broussard is responsible for criminal enforcement of, inter alia, H.B. 314 and Ala.

Code § 26-23E-12(c), in Huntsville. Defendant Broussard is sued in his official

capacity.

      19.    Defendant Danny Carr is District Attorney for Jefferson County,

located at 801 Richard Arrington Jr. Blvd. N Birmingham, Alabama. District

attorneys have the power to "draw up all indictments and to prosecute all indictable

offenses" within their jurisdiction. Ala. Code § 12-17-184(2). As such, Defendant

Carr is responsible for criminal enforcement of, inter alia, H.B. 314 and Ala. Code

§ 26-23E-12(c), in Birmingham. Defendant Carr is sued in his official capacity.

      20.   Defendant Ashley Rich is District Attorney for Mobile County,

located at 205 Government Street, Mobile, Alabama. District attorneys have the

power to "draw up all indictments and to prosecute all indictable offenses" within

their jurisdiction. Ala. Code § 12-17-184(2). As such, Defendant Rich is

responsible for criminal enforcement of, inter alia, H.B. 314 and Ala. Code § 26-

23E-12(c), in Mobile. Defendant Rich is sued in her official capacity.

                                         8
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 9 of 28




      21.    Defendant Daryl D. Bailey is District Attorney for Montgomery

County, located at 251 South Lawrence Street, Montgomery, Alabama. District

attorneys have the power to "draw up all indictments and to prosecute all indictable

offenses" within their jurisdiction. Ala. Code § 12-17-184(2). As such, Defendant

Bailey is responsible for criminal enforcement of, inter alia, H.B. 314 and Ala.

Code § 26-23E-12(c), in Montgomery. Defendant Bailey is sued in his official

capacity.

      22.    Defendant Hays Webb is District Attorney for Tuscaloosa County,

located at 714 Greensboro Avenue, Suite 410, Tuscaloosa, Alabama. District

attorneys have the power to "draw up all indictments and to prosecute all indictable

offenses" within their jurisdiction. Ala. Code § 12-17-184(2). As such, Defendant

Webb is responsible for criminal enforcement of, inter alia, H.B. 314 and Ala.

Code § 26-23E-12(c), in Tuscaloosa. Defendant Webb is sued in his official

capacity.

      23.    Defendant Scott Harris, M.D., is the State Health Officer at the

Alabama State Department of Public Health("ADPW),located at 201 Monroe

Street, Montgomery, Alabama. Among other things, he is responsible for

supervising and directing all activities of ADPH,pursuant to Ala. Code § 22-2-2 et

seq., including the licensing, inspecting, and disciplining of abortion or

reproductive health care centers, see id. at § 22-21-20 et seq.; Ala. Admin. Code r.

                                          9
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 10 of 28



420-5-1-.01 et seq. As such, Defendant Harris is responsible for ensuring that

patient care at abortion clinics is "rendered in accordance with all applicable ..

state ... laws," Ala. Admin. Code r. 420-5-1-.03(1), including H.B. 314.

Defendant Harris is sued in his official capacity.

      24.    Defendant Mark H. Lequire, M.D.,is the Chairman of the Alabama

Board of Medical Examiners("ALBME'),located at 848 Washington Avenue,

Montgomery, Alabama. The Board of Medical Examiners may,on its own motion,

investigate any evidence which appears to show that a physician is or may be

guilty of any of the acts, offenses, or conditions set forth in Ala. Code § 34-24-360,

which includes, inter alia, conviction of a felony and '`unprofessional conduct," as

defined in the Alabama Administrative Code, and recommend or request that the

Medical Licensure Commission of Alabama suspend or revoke the license of a

physician. See id. at § 34-24-361; Ala. Admin. Code r. 540-X-1-.07. As such,

Defendant Lequire is responsible for initiating actions that could result in penalties

or other adverse actions taken against physicians' licenses relating to violations of

H.B. 314. Defendant Lequire is sued in his official capacity.

      25.    Defendant James H. Walburn, M.D., is the Chairman of the Medical

Licensure Commission of Alabama("MLCA"),located at 848 Washington

Avenue, Montgomery, Alabama. The MLCA shall have the power and duty to

suspend,revoke, or restrict any license to practice medicine or osteopathy in the

                                          10
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 11 of 28




State of Alabama or place on probation or fine any licensee whenever the licensee

shall be found guilty on the basis of substantial evidence of, inter alia, conviction

of a felony or '`unprofessional conduct," as defined in the Alabama Administrative

Code. See Ala. Code § 34-24-360; Ala. Admin. Code r. 545-X-1-.06; Ala. Admin.

Code r. 545-X-4-.06. In addition, the MLCA is authorized to "call upon the

attorney general, district attorney, or other prosecuting attorneys of this state to

assist in any request." Ala. Admin. Code r. 545-X-1-.06(5). As such, Defendant

Walburn is responsible for imposing penalties or taking other adverse actions

against physicians' licenses relating to violations of H.B. 314. Defendant Walburn

is sued in his official capacity.

                          STATUTORY FRAMEWORK

      26.    The Ban makes it a crime "for any person to intentionally perform or

attempt to perform an abortior' at any stage in pregnancy, except to avert death or

"serious health risk." H.B. 314 § 4.

      27.    The Ban's exception for "serious health risk[s]" is extremely limited

and would be difficult, if not impossible, to comply with. For example,the exception

requires sign-offfrom a second, and in some cases third, physician,see id. at §§ 3(6),

4(b); it requires certain abortions be performed in a hospital, see id. at § 3(6); and

because the definitions are nearly identical, it provides no guidance for physicians

to distinguish between a "serious health risk," see id. at § 3(6), and a "medical

                                           11
       Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 12 of 28



emergency," see id. at § 3(4).

        28.   In addition to the foregoing exceedingly narrow exception, the Ban

excludes from the definition of abortion a procedure to terminate the pregnancy in

cases where the fetus "would die after birth or shortly thereafter or be stillborn."

H.B. 314 § 3(1),(3).

        29.   Performance of an abortion in violation of the Ban constitutes a Class

A felony, which is punishable by imprisonrnent for 10-99 years. H.B. 314 § 6(a);

Ala. Code § 13A-5-6(a)(1).

        30.   Attempted performance of an abortion in violation of the Ban

constitutes a Class C felony, which is punishable by irnprisonment for 1-10 years.

H.B. 314 § 6(b); Ala. Code § 13A-5-6(a)(3).

        31.   Anyone who refers a person for an abortion performed in violation of

H.B. 314 may be subject to liability for criminal solicitation or conspiracy, which

are Class B felonies punishable by imprisonment for 2-20 years, Ala. Code § 13A-

4-1, id. at § 13A-4-3, id. at § 13A-5-6, or as an accomplice or for aiding and

abetting the performance of an abortion, which carries the same penalties as

performing the abortion directly in violation of H.B. 314—a class A felony

punishable by imprisonment for 10-99 years, Ala. Code § 13A-2-23, id. at § 13A-

5-6.

        32.   Any physician who performs or attempts to perform, or refers for, an

                                          12
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 13 of 28




abortion in violation of the Ban may also be subject to medical license probation,

suspension, revocation, or restriction and/or fines or other disciplinary action. See

Ala. Code § 34-24-360; Ala. Admin. Code r. 545-X-1-.06; Ala. Admin. Code r.

545-X-4-.06; Ala. Code § 34-24-53; Ala. Code § 34-24-361; Ala. Admin. Code r.

540-X-1-.07.

      33.    Any administrator of a licensed abortion clinic who "knowingly and

willfully permits" a physician to perform or attempt to perform, or refer for,

abortions in violation of H.B. 314 shall be guilty of a Class C felony, which is

punishable by imprisonment for 1-10 years. See Ala. Code § 26-23E-12; Ala. Code

§ 26-23E-6; Ala. Code § 13A-5-6(a)(3).

      34.    The Ban is set to take effect on November 15, 2019, which is six

months from the date of the Governor's signature. H.B. 314 § 10. Upon that date,

the Plaintiffs will face, inter alia, severe criminal penalties and the risk of adverse

licensure and/or disciplinary action, if they continue to perform and/or refer for

abortions.

                           FACTUAL ALLEGATIONS

                                Abortion in Alabama

      35.    There are only three outpatient clinics currently providing abortions in

the state of Alabama—Plaintiff AWC in Huntsville; Plaintiff RHS in Montgomery;

and Plaintiff WAWC in Tuscaloosa. While Plaintiff PPSE is not currently providing

                                           13
        Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 14 of 28



abortions in Alabama,it has done so in the past, and intends to provide them again in

the near future.

         36.   According to published statistics, less than 0.001% of abortions

perforrned in the entire state were provided in Alabama hospitals in 2017.4

         37.   Abortion is one of the safest medical procedures in the United States

and is substantially safer than continuing a pregnancy through to childbirth.

         38.   Abortion is also extremely common; approximately one in four

women in this country will have an abortion by age forty-five.5

         39.   Some people have abortions because they conclude that it is not the

right time to become a parent given their age, desire to pursue their education

and/or career, or because they feel they lack the necessary financial resources or

level of partner or familial support or stability. Many are already mothers; indeed,

a majority of women having abortions(59%)already have at least one child.6



4 Ala. Dep't of Health, Ala. Center for
                                    Health Statistics, Vital Statistics, Induced Terminations of
Pregnancy, Residents ofAlabama, 2017,
http://www.alabamapublichealth.gov/healthstats/assets/ITOP_2017AL%20.pdf.

5 See Guttrnacher Institute, Abortion Is a Common Experiencefor U.S. Women, Despite
Dramatic Declines in Rates,(Oct. 19, 2017), https://www.guttmacher.org/news-
release/2017/abortion-common-experience-us-women-despite-drarnatic-declines-rates.
Although abortion bans, like H.B. 314, have a disparate impact on women—in particular, women
of color, low-income women, and young women—these bans also inflict irreparable
constitutional and dignitary harm on members of transgender and gender non-binary
communities who likewise need access to abortion services.

6 SeeGuttmacher Institute, Characteristics of U.S. Abortion Patients in 2014 and Changes Since
2008,(May 2016), https://www.guttmacher.org/report/characteristics-us-abortion-patients-2014.
                                               14
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 15 of 28




        40.   Some people seek abortions to preserve their life or health; some

because they have become pregnant as a result of rape; and others because they

decide not to have children at all.

        41.   Some people who have suffered trauma, such as sexual assault or

domestic violence, may be concerned that pregnancy, childbirth, and/or an

additional child may exacerbate already extremely difficult and dangerous

situations for them and put them at risk of greater sexual or physical violence or

worse.

        42.   Some people decide to have an abortion because of an indication or

diagnosis of a fetal medical condition or anomaly. Some families do not feel they

have the resources—financial, medical, educational, or emotional—to care for a

child with special needs or to simultaneously provide for the children they already

have.

        43.   Ultimately, the decision to terminate a pregnanc.y for any reason is

motivated by a combination of diverse, complex, and interrelated factors that are

intimately related to the individual's values and beliefs, culture and religion, health

status and reproductive history, familial situation, and resources and economic

stability.

                Alabama's Targeted Campaign Against Abortion

        44.   H.B. 314 is the culmination of a near-decade long campaign by the

                                          15
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 16 of 28



Alabama legislature to eliminate legal abortion in Alabama.

      45.    Since 2011, the Alabama legislature has enacted a multitude of laws

aimed at restricting and ultimately outlawing abortion in the state. This campaign

has contributed to, as this Court has recognized,"a climate of extreme hostility"

for "abortion providers and women seeking abortions in Alabama today." Planned

Parenthood Se., Inc. v. Strange, 33 F. Supp. 3d 1330, 1334(M.D. Ala. 2014)

(Thompson, J).

      46.    In 2011,the Legislature banned abortions starting at 20 weeks, with

exceptions only for abortions necessary to avert death or "serious risk of

substantial and irreversible physical impairment of a major bodily function." Ala.

Code § 26-23B-5.

      47.   In 2013, the Legislature imposed burdensome building requirements

on abortion clinics, see Ala. Code § 26-23E-9, that forced multiple Alabama

abortion clinics to undergo extensive and expensive renovations, and even

purchase and relocate to entirely new properties.

      48.    Also in 2013, the Legislature required all physicians performing

abortions in Alabama to hold staff privileges at a hospital within the same

statistical metropolitan area as the clinic. See Ala. Code § 26-23E-4(c). That

requirement was found unconstitutional by this Court, see, e.g., Strange, 33 F.

Supp. 3d 1330; Planned Parenthood Se., Inc. v. Strange, 172 F. Supp. 3d 1275

                                         16
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 17 of 28



(M.D. Ala. 2016)(Thompson,J.)(determining appropriate relief), and, after the

Supreme Court in Whole Woman's Health v. Hellerstedt, 136 S. Ct. 2292(2016),

struck a virtually identical law, the Attorney General dismissed his appeal stating

"there is now no good faith argument that the law is constitutional under

controlling precedent." Mot. to Dismiss Appeal,Planned Parenthood Se., Inc. v.

Strange, No. 16-11867 (11th Cir. July 15, 2016). Cf. W. Alabama Women's Ctr. v.

Williamson, 120 F. Supp. 3d 1296, 1317(M.D. Ala. 2015)(enjoining as

unconstitutional regulation requiring clinics to contract with physician with

admitting privileges).

      49.    In 2014,the Legislature increased the mandatory wait period between

when physicians must provide state-mandated information to patients and when

patients can lawfully obtain an abortion from 24 hours to 48 hours. See Ala. Code

§ 26-23A-4 .

      50.    Also in 2014,the Legislature altered the judicial bypass process

through which a minor may seek a court order waiving the State's requirement she

obtain parental consent prior to an abortion. See Ala. Code §§ 26-21-1, et seq.

"Appl[ying] 38 years of Supreme Court authority on the subject, as all lower

federal courts are bound to do," this Court declared the revisions violated "a

pregnant minor's long-established constitutional righ t[s]." Reprod. Health Servs. v.

Marshall, 268 F. Supp. 3d 1261, 1295(M.D. Ala. 2017)(Walker, M.J.), appeal

                                         17
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 18 of 28




pending, No. 17-13561 (11th Cir.).

      51.    In 2016,the Legislature prohibited the ADPH from issuing or

renewing licenses for abortion clinics located within 2,000 feet of a K-8 public

school, which would have had the effect of closing two of the state's then-five

clinics and the only clinics in the state providing abortions in the second trimester.

Ala. Code § 22-21-35(b). This Court held that law unconstitutional and enjoined its

enforcement. W. Alabama Women's Ctr. v. Miller, 299 F. Supp. 3d 1244, 1280-81

(M.D. Ala. 2017), aff'd sub nom. W. Alabama Women's Ctr. v. Williamson,900

F.3d 1310(11th Cir. 2018), pet.for cert. pending Harris v. W. Alabama Women's

Ctr., No. 18-837 (2019).

      52.    Also in 2016, Alabama banned the most common method of second-

trimester abortion and the only method available in the outpatient setting,

effectively banning abortion throughout the state starting at 15 weeks. Once again,

this Court issued a permanent injunction against the ban,finding that, were the law

to stand,"Alabama women w[ould] be altogether unable to access a safe abortion

at or after 15 weeks of pregnancy." Id. at 1244.

                        The Ban's Impact on Plaintiffs' Patients

      53.    If allowed to take effect, the Ban will essentially eliminate legal

abortion in Alabama.




                                          18
        Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 19 of 28



         54.   The impact of the Ban will fall disproportionately on Black women

and people who are low-income.

         55.   Statistics show that in 2017, Black people made up less than 30% of

Alabama's population,7 but over 60% of people who obtained abortions in

Alabama.'

         56.   The majority of Plaintiffs' patients are low-income.

         57.   Being forced to continue a pregnancy against one's will can pose a

risk to a person's physical, mental, and emotional health, and even their life, as

well as to the stability and well-being of their family, including existing children.

         58.   Even for someone who is otherwise healthy and has an uncomplicated

pregnancy, carrying that pregnancy to term and giving birth poses serious medical

risk and can have long-term medical and physical consequences. For someone

with a medical condition caused or exacerbated by pregnancy, these risks are

increased.

         59.   Forced pregnancy poses a heightened risk in Alabama, and to Black

women,in particular.


7 SeeU.S. Census Bureau, American FactFinder, ACS Demographic and Housing Estimates,
2013-2017 American Community Survey 5-Year Estimates, Alabama, 2017,
https://factfinder.census.gov/bkmk/table/1.0/en/ACS/17_5YR/DP05/0400000USO.

8 Ala. Dep't of Health, Ala. Center for Health Statistics, Vital Statistics, Induced Terminations of
Pregnancy, Residents ofAlabama, 2017,
http://www.alabamapublichealth.gov/healthstats/assets/ITOP_2017AL%20.pdf.

                                                19
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 20 of 28




       60.     According to ADPH,nearly two-thirds of Alabama counties lack

hospitals that offer obstetrical care.9

       61.      Moreover, while the number of reported pregnancy-related deaths

across the country has steadily increased from 7.2 deaths per 100,000 live births in

1987,to 18.0 deaths per 100,000 live births in 2014,10 in Alabama,Black women are

nearly five times more likely to die from pregnancy-related causes than White

women.11

       62.     In addition, Alabama is among the five states with the highest infant

mortality rate in the country.12

                                          Injunctive Relief

       63.     If the Ban is allowed to take effect, Plaintiffs' patients will be subject

to significant and irreparable harm to their constitutional rights for which no



9 Jessica Ravitz, Alabama says it wants to protect life. How does that claim stack
                                                                       up outside the
womb?,CNN,May 16, 2019, https://www.cnn.com/2019/05/16/health/alabama-treatment-of-
living/index.html.

1° National Center for Chronic Disease Prevention and Health Promotion, Division of
Reproductive Health,Pregnancy Mortality Surveillance System, Aug. 7, 2018,
https://www.cdc.gov/reproductivehealth/maternalinfanthealth/pregnancy-mortality-surveillance-
system.htm?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Freproductivehealth%2Fmat
ernalinfanthealth%2Fpmss.html.

11 Society for Maternal-Fetal Medicine, Maternal Mortality Facts & Figures: Alabama, Dec.4,
2018, https://s3.amazonaws.com/cdn.smfm.org/mortality_records/2-:state_slug.pdf(accessed via
https://www.smfm.org/data/mortality-map).

12 Centers for Disease Control and Prevention, National Center for Health
                                                                       Statistics, Infant
Mortality Rates by State: 2017,last updated Jan. 15, 2019,
https:llwww.cdc.gov/nchs/pressroom/sosmap/infant_mortality_rates/infant_mortality.htm.
                                               20
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 21 of 28




adequate remedy at law exists. By preventing Plaintiffs' patients from obtaining an

abortion in Alabama, the Ban will also inflict significant and irreparable medical,

emotional, dignitary, and other harms for which no adequate remedy at law exists.

      64.       Enforcement of the Ban will cause irreparable harm by threatening

Plaintiffs and their physicians, clinic administrators, and other staff with

substantial criminal and/or licensure penalties for providing abortion services and

referring for abortion services.



                                 CLAIM FOR RELIEF

            (Substantive Due Process — Plaintiffs' Patients' Right to Privacy)

      65.       Plaintiffs repeat the factual allegations set forth above as fully set

forth herein.

      66.       By prohibiting an individual from making the ultimate decision

whether to terminate a pregnancy prior to viability, H.B. 314 violates the rights to

liberty and privacy secured to Plaintiffs' patients by the Due Process Clause of the

Fourteenth Amendment to the United States Constitution.



                                 REQUEST FOR RELIEF

WHEREFORE,Plaintiffs respectfully request this Court:




                                             21
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 22 of 28



      A.    Enter a judgment declaring H.B. 314 violates the Fourteenth

Amendment to the United States Constitution and a preliminary and permanent

injunction, restraining Defendants, their employees, agents, and successors in

office from enforcing H.B. 314;

      B.    To award Plaintiffs their costs and expenses, including reasonable

attorneys' fees pursuant to 42 U.S.C. § 1988; and

      C.    To grant any additional relief as may be just and proper.



Respectfully submitted this 24th day of May,2019.




                                      Randall C. Marshall

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                                        22
Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 23 of 28




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                              *Pro hac vice motionsforthcoming




                                23
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 24 of 28



                                DECLARATION

      I declare under penalty of perjury under the laws of the United States of

America that the statements contained in the Complaint are true and correct to the

best of my knowledge and belief.




                                           ,1 04LCe 0e/(,, NT& 10
                                               ashica Robinson, NUJ
                                             Medical Director
                                             Alabama Women's Center


                                            Executed on:   5f2.21161
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 25 of 28



                                DECLARATION

      I declare under penalty of perjury under the laws of the United States of

America that the statements contained in the Complaint are true and correct to the

best of my knowledge and belief.




                                            Dalto Johnso
                                            Owner and Administrator
                                            Alabama Women's Center


                                            Executed on:    5/22/ cl
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 26 of 28



                                DECLARATION

      I declare under penalty of perjury under the laws of the United States of

America that the statements contained in the Complaint are true and correct to the

best of my knowledge and belief.


                                            •
                                                 L. F
                                            President and Chief Executive Officer
                                            Planned Parenthood Southeast, Inc.


                                            Executed on:
     Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 27 of 28



                                DECLARATION

      I declare under penalty of perjury under the laws ofthe United States of

America that the staternents contained in the Complaint are true and correct to the

best of my knowledge and belief.




                                             Jun Ayers
                                             Owner and Administrator
                                             Reproductive Health Services


                                             Executed on:               ?
    Case 2:19-cv-00365-MHT-SMD Document 1 Filed 05/24/19 Page 28 of 28



                                DECLARATION

      I declare under penalty of perjury under the laws of the United States of

America that the statements contained in the Complaint are true and correct to the

best of my knowledge and belief.




                                             Gloria Gray
                                             Owne and Administrator
                                             West Alabama Women's Center


                                            Executed on: 34../ /2,6
